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                  Exhibit 5
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 1                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
 2                            ATLANTA DIVISION

 3
 4   THE STATE OF GEORGIA,                 )
                                           )
 5                       PLAINTIFF,        )
                                           )    DOCKET NO:
 6                                         ) 1:23-CV-03621-SCJ
                                           )
 7           -VS-                          )
                                           )
 8   MARK RANDALL MEADOWS,                 )
                                           )
 9                     DEFENDANT.          )
     _______________________________
10
                    TRANSCRIPT OF EVIDENTIARY PROCEEDINGS
11                   BEFORE THE HONORABLE STEVE C. JONES
                        UNITED STATES DISTRICT JUDGE
12                         MONDAY, AUGUST 28, 2023

13   APPEARANCES:

14   ON BEHALF OF THE PLAINTIFF:

15    ADAM NEY, ESQ.
      ANNA GREEN CROSS, ESQ.
16    DAYSHA D'ANYA YOUNG, ESQ.
      FRANCIS MC DONALD WAKEFORD, IV, ESQ.
17    JOHN WOOTEN, ESQ.
      NATHAN J. WADE, ESQ.
18
     ON BEHALF OF THE DEFENDANT:
19
      GEORGE J. TERWILLIGER, III, ESQ.
20    JOHN S. MORAN, ESQ.
      JOSEPH MATTHEW ENGLERT, ESQ.
21    MICHAEL LEE FRANCISCO, ESQ.
      EMILY ERB KELLEY, ESQ.
22    FRANCIS J. AUL, ESQ.

23          VIOLA S. ZBOROWSKI, RDR, FAPR, CMR, CRR, RPR, CRC
        OFFICIAL COURT REPORTER TO THE HONORABLE STEVE C. JONES
24                     UNITED STATES DISTRICT COURT
                             ATLANTA, GEORGIA
25                             404-215-1479
                    VIOLA_ZBOROWSKI@GAND.USCOURTS.GOV

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 1   the governor would certify them.

 2   Q.   But as you as the Secretary of State are administering

 3   elections and preparing to certify an election, is there

 4   anyone in the federal government that you coordinate that

 5   action with?

 6   A.   No.

 7   Q.   Is there anyone in the federal government that you

 8   consult about the appropriateness of certifying any specific

 9   election?

10   A.   No.

11   Q.   Anyone in the executive branch -- that's a slightly

12   different question.

13        Anyone in the executive branch that you consult with in

14   the administration or certification of the election results in

15   Georgia?

16   A.   No.

17   Q.   What about the President of the United States, does the

18   President of the United States at any given time have any role

19   in the administration of the election activity administration

20   in Georgia?

21   A.   Not from my understanding.

22   Q.   Does the President of the United States have any role

23   in the certification of the Georgia elections in your

24   understanding as the Secretary of State?

25   A.   No.


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